             If this opinion indicates that it is “FOR PUBLICATION,” it is subject to
                  revision until final publication in the Michigan Appeals Reports.




                           STATE OF MICHIGAN

                             COURT OF APPEALS


ODELL JONES,                                                           UNPUBLISHED
                                                                       August 22, 2024
               Plaintiff-Appellant,

v                                                                      No. 367375
                                                                       Wayne Circuit Court
CYRIL C. HALL, LAW OFFICES OF CYRIL C.                                 LC No. 22-013705-NM
HALL, PC, and HALL MAKLED, PC,

               Defendants-Appellees.


Before: MURRAY, P.J., and BORRELLO and MARIANI, JJ.

PER CURIAM.

        In this action for legal malpractice, plaintiff appeals as of right the trial court’s order
granting summary disposition in favor of defendants, Cyril C. Hall (Hall), Law Offices of Cyril C.
Hall, PC (Hall, PC), and Hall Makled, PC (Hall Makled), under MCR 2.116(C)(7) because
plaintiff’s claims were barred by the statute of limitations. For the reasons set forth in this opinion,
we affirm.

                                         I. BACKGROUND

        The present action arises out of defendants’ representation of plaintiff in litigation against
1300 Lafayette East Cooperative (1300 Lafayette), which is a non-profit cooperative housing
corporation. Plaintiff and his wife, Cecily Hoagland, had been shareholders and residents of 1300
Lafayette since April 2001, and they occupied a unit on the building’s top floor under an agreement
that required them to pay carrying charges in exchange for the right to lease and occupy the unit.
In 2011, they began to experience chronic water leaks into their unit, primarily from the roof.
Other residents on the top floor of 1300 Lafayette had experienced similar leaks since at least 2002.

        In October 2017, after having apparently complained about the leaks for years to no avail,
plaintiff sent a letter to 1300 Lafayette’s property manager indicating that he would be paying his
carrying charges into an escrow account until he was personally “satisfied” that 1300 Lafayette
was adequately addressing the maintenance and repair issues related to the water leaks. 1300
Lafayette subsequently initiated eviction proceedings in December 2017 against plaintiff and
Hoagland in the 36th District Court for nonpayment of rent. Plaintiff retained the firm Sullivan,


                                                  -1-
Ward, Asher &amp; Patton, P.C. as counsel. However, at some point in early 2018, plaintiff retained
Hall and his firm1 as replacement counsel.

        On March 9, 2018, Hall filed a motion on plaintiff’s behalf2 in the district court to stay
those proceedings. In the motion, Hall indicated that a new action had been filed on March 5,
2018, in the Wayne Circuit Court that would “resolve all issues before this Honorable Court.” In
the circuit court action, plaintiff and the other 1300 Lafayette residents who were also joined as
plaintiffs alleged in relevant part that 1300 Lafayette had failed to keep the building in reasonable
repair so as to prevent the constant water leaks. On April 9, 2018, the district court entered a
stipulated order staying the district court proceedings “for reason that there is a related pending
civil case at the Wayne County Circuit Court, Case No.: 18-002483-CK, and that upon its
resolution, may also resolve all issues before this Court.”

        On June 11, 2019, plaintiff filed another action in the Wayne Circuit Court against 1300
Lafayette and other related parties. However, this complaint was filed by new counsel, Thomas
P. Christy and Sarah J. Brutman with Dean &amp; Fulkerson, P.C. The previously filed circuit court
action was still pending, and the case in the district court remained stayed. The second circuit
court action included defendants who were not named in the first action and did not include all of
the plaintiffs from the first action. However, the factual allegations supporting the claims in the
second circuit court action were substantially similar to those in the first circuit court action
regarding the alleged failure to adequately maintain the building. The second circuit court action
also included additional and expanded legal theories of relief.

        According to an affidavit made by plaintiff and submitted in support of one of his motions
in the first underlying circuit court action, and which defendants submitted as part of their
pleadings in the present malpractice action, plaintiff averred that after growing frustrated with
Hall’s representation, he began looking for new counsel and interviewed Christy and Brutman of
Dean &amp; Fulkerson. Plaintiff averred that based on this interview, he “agreed to retain Dean &amp;
Fulkerson, P.C., (D&amp;F) as counsel to replace Hall Makled, P.C.” According to plaintiff, an order
substituting Christy and Brutman as his counsel was entered in the circuit court action in April
2019.3 Plaintiff averred that Christy filed the above-mentioned second circuit court action because
leave to amend the complaint in the first action had been denied. The two circuit court actions
were consolidated, and 1300 Lafayette filed counterclaims in the circuit court seeking plaintiff’s




1
 At one point, Hall’s firm was designated as Hall Makled. Later, his firm was designated as the
Law Offices of Cyril C. Hall.
2
  It appears that Hall also represented Hoagland, but Hoagland is not a party to the instant
malpractice action. Thus, we will only discuss Hoagland’s involvement as necessary for factual
context.
3
  The register of actions for that circuit court action was submitted into the record in this case, and
it indicates that an order for substitution of attorney was entered on April 23, 2019, although it
does not include any details regarding the substance of that order or the names of the attorneys
involved.


                                                 -2-
unpaid carrying charges and to eject plaintiff from the unit, which was essentially the relief 1300
Lafayette had sought against plaintiff in the district court proceedings that remained stayed.

        In a separate affidavit completed and submitted by plaintiff in the present malpractice
action, plaintiff averred that “On November 19, 2020, Plaintiff retained attorney Ryan E. Hill . . .
to substitute as counsel of record for attorney Hall in the 36th District Court case following detailed
discussions and a voluminous exchange of documents related to the dispute with 1300 LEC, filed
in both the 36th District Court and 3rd Circuit Court.” Plaintiff also submitted a November 19,
2020 invoice for Hill’s retainer. Hill filed an appearance in the district court on November 23,
2020, moved to lift the stay, moved to compel 1300 Lafayette to make repairs, and moved to
release funds that plaintiff had put into escrow. The affidavit submitted by plaintiff also stated in
relevant part as follows:

                  19. Upon discovering via email forwarded from attorney Hall to attorney
          Thomas P. Christy . . . regarding a hearing scheduled in 36th District Court that
          attorney Hall was still counsel of record for Plaintiff’s spouse, Cecily Hoagland . . .
          she filed an appearance in the 36th District Court case, propria persona, on
          September 22, 2021. . . .[4]

                  20. Plaintiff avers that attorney Christy has never represented him or his
          spouse in the 36th District Court and further avers that since attorney Hall was
          substituted as counsel of record for attorney Tompkins, he remained counsel of
          record for Case No. 17-330548-LT, filed in the 36th District Court, until replaced
          by attorney Hill on Plaintiff’s behalf and his spouse, pro se, on her own behalf.

                  21. Plaintiff further states he now knows that attorney Hall could have, and
          should have, moved the 36th District Court to compel 1300 LEC to comply with
          [the court’s] order for repairs entered January 10, 2018. Further, Plaintiff now
          knows that attorney Hall severely compromised his rights by neglecting to seek
          injunctive relief to prevent 1300 LEC from suffering the dwelling unit to remain
          untenantable, even after entry of an order by [the court] for repairs, and failing to
          move for an order to release escrowed funds and either appoint a receiver to make
          repairs or grant Plaintiff consent, as required by Article 12 of their Occupancy
          Agreement, to make repairs and deduct the costs from any amounts found due and
          owing 1300 LEC, yet he neglected to do so.

                  22. Plaintiffs’ right to secure the just, speedy and economical determination
          of its cause of action has been compromised by Defendants [sic] handling of this
          case first neglecting to enforce the court’s order for repairs, then neglecting to
          compel responses to Plaintiffs’ discovery requests served on 1300 LEC, then
          neglecting to prepare for final pretrial conference scheduled May 4, 2018 just sixty
          days from Defendants filing separate suit in the 3rd Circuit Court, then stipulating




4
    It appears that Hoagland is an attorney.


                                                   -3-
       to stay summary proceedings filed by 1300 LEC instead of proceeding to trial on
       the merits of their claims.

               23. In the instant case Plaintiffs have been prejudiced by needless delay
       resulting in the attrition of key witnesses during the past five years due to death or
       declining health, making them unavailable and/or unreliable as witnesses; senseless
       increases in the cost of litigation resulting from circuitous civil procedure, a
       perverse escalation of damages in dispute which at the time summary proceedings
       were initiated totaled less than Twenty-five Thousand Dollars ($25,000.00); Eight
       Thousand Dollars ($8,089.00) in rent and Fifteen Thousand Dollars ($15,000.00)
       in personal property damage; now five years later the damages in dispute exceed
       well over One Million Dollars ($1,000,000.00) with a significant portion of the
       costs attributable to legal fees and litigation expenses; as well as the preventable
       loss of plaintiffs’ beneficial use of their dwelling, mental anguish and emotional
       distress caused by the management of this dispute.

                24. Plaintiff continues to suffer untenantable conditions inside his dwelling
       unit as a result of negligent management practices of 1300 LEC and Defendants
       [sic] failure to pursue timely trial on the merits of Plaintiffs’ defenses to summary
       proceeding filed by 1300 LEC . . . .

        On November 16, 2022, plaintiff initiated the present malpractice action against Hall and
the two law firms with which he had been associated at times during the underlying actions.
Plaintiff amended his complaint two days later. In his amended complaint, plaintiff asserted two
counts of legal malpractice against defendants. Plaintiff alleged that defendants failed to pursue
timely adjudication by jury trial of the district court matter against 1300 Lafayette, which still had
not been resolved. Plaintiff further alleged that defendants were professionally negligent in
handling the district court matter for a variety of reasons. According to plaintiff, an “attorney
representative of Defendants provided incorrect information and improperly advised Plaintiff to
consent to stay proceedings in the 36th District Court, Landlord-Tenant Division, because claims
they were alleging against 1300 LEC were beyond the subject matter jurisdiction of 36th District
Court, must be filed in the 3rd Circuit Court, and both cases could not be maintained at the same
time because they involved common questions of fact and issues of law arising from the same
transaction or occurrence between the same parties.” Plaintiff alleged that he

       relied on Defendants’ incorrect information and advice to his detriment by agreeing
       to stay proceedings. As a direct and proximate cause of relying on Defendants’
       information and advice trial on the merits of issues regarding possession,
       habitability, rights to release of escrow, and enforcement of the Court’s Order for
       repairs were needlessly delayed and, as of the date of this complaint, remains
       unresolved after more than fifty-five months. Further, Plaintiff continues to be
       deprived of the beneficial use of his dwelling and has been compelled to spend in
       excess of Two Hundred Seventy-five Thousand Dollars $275,000.00 in legal fees,
       costs, and expenses for repair/storage of personal property as well as alternative
       living expenses while awaiting trial in the 3rd Circuit Court.




                                                 -4-
        In lieu of filing an answer to the complaint, defendants filed a motion for summary
disposition pursuant to MCR 2.116(C)(7) and (10). Defendants argued that although they
continued to represent other plaintiffs in the underlying circuit court litigation, plaintiff had
terminated his attorney-client relationship with defendants no later than September 2020 when
Christy appeared as plaintiff’s counsel of record on filings in the underlying circuit court litigation.
Defendants further noted that Christy had filed another related action on plaintiff’s behalf on June
11, 2019. Thus, defendants contended that plaintiff’s malpractice claims were barred by the two-
year statute of limitations, MCL 600.5805(4).

        In his response, plaintiff contended that defendants continued to represent him in the 36th
District Court case until November 19, 2020, when he retained attorney Ryan Hill, of the Detroit
Legal Group, PLLC, to substitute for Hall after plaintiff learned that a stay of the district court case
was unnecessary because the claims and defenses asserted in that case were distinct from those
asserted in the circuit court. That case apparently had remained stayed and had not been concluded.
Plaintiff explained that he had proceeded in propria persona in the circuit court action against
1300 Lafayette since May 16, 2022, when Christy’s motion to withdraw was granted. Plaintiff
further argued that he had never been represented in the district court action by Christy, Brutman,
or any attorney from Dean &amp; Fulkerson. Accordingly, plaintiff maintained that his malpractice
action was timely filed within the two-year statute of limitations.

        In their reply brief, defendants asserted that their attorney-client relationship with plaintiff
ended when plaintiff terminated their service in the Wayne Circuit Court case that was
“intrinsically connected” to the district court case. They maintained that the termination of the
relationship may be implied by the action or inaction of the client, including the hiring of a new
attorney or revoking the attorney’s authority to act, and explained that a legal malpractice action
accrues on the last day that an attorney renders professional services to the client. Quoting from
the affidavit made by plaintiff, which had been filed in the Wayne Circuit Court case and was
attached as Exhibit A to the reply brief in the present case, defendants asserted that plaintiff had
not sought any legal advice from Hall in the district court case since entry of the stay or since
replacing Hall in the Wayne Circuit Court case. Defendants stated that the last service performed
by Hall in the district court was the procurement of the stay in the district court. Defendants argued
that plaintiff terminated defendants’ representation regarding all matters involving the 1300
Lafayette litigation, including the district court proceedings, when plaintiff retained Christy as
counsel in April 2019. Finally, defendants contended that the subsequent withdrawal by
defendants in the district court after their representation was terminated by plaintiff was merely “a
ministerial act to formalize the end of the relationship” and “ ‘[m]inisterial’ acts performed in
furtherance of ethical obligations to former clients cannot be used to revive or maintain the lawyer-
client relationship.”

        Following a hearing on the motion, the trial court granted summary disposition in favor of
defendants under MCR 2.116(C)(7), concluding that the action was barred by the statute of
limitations. The court ruled that plaintiff had replaced defendants with new counsel in April 2019
and that there was no evidence that defendants provided any legal services after that time. This
appeal followed.

                                   II. STANDARD OF REVIEW



                                                  -5-
        This Court “review[s] de novo the question whether a claim is barred by the statute of
limitations and the issue of the proper interpretation and applicability of the limitations periods.”
City of Fraser v Almeda Univ, 314 Mich App 79, 100; 886 NW2d 730 (2016) (quotation marks
and citation omitted). A trial court’s decision on a motion for summary disposition is also
reviewed de novo. Zaher v Miotke, 300 Mich App 132, 139; 832 NW2d 266 (2013). Under de
novo review, the legal issues are reviewed independently, with no deference required to the courts
below. Wright v Genesee Co, 504 Mich 410, 417; 934 NW2d 805 (2019).

       Here, the trial court ruled that defendant was entitled to summary disposition under MCR
2.116(C)(7) because plaintiff’s claim was barred by the statute of limitations. MCR 2.116(C)(7)
authorizes summary disposition on the ground that “[e]ntry of judgment, dismissal of the action,
or other relief is appropriate because of . . . statute of limitations . . . .” When a motion for
summary disposition is filed under MCR 2.116(C)(7), neither party is required to file supportive
material and “the contents of the complaint are accepted as true unless contradicted by
documentation submitted by the movant.” The Reserve at Heritage Village Ass’n v Warren Fin
Acquisition, LLC, 305 Mich App 92, 111; 850 NW2d 649 (2014) (quotation marks and citation
omitted).

        However, “a party moving for summary disposition under MCR 2.116(C)(7) may support
the motion with affidavits, depositions, admissions, or other admissible documentary evidence,
which the reviewing court must consider.” Kincaid v Cardwell, 300 Mich App 513, 522; 834
NW2d 122 (2013). “The reviewing court must view the pleadings and supporting evidence in the
light most favorable to the nonmoving party to determine whether the undisputed facts show that
the moving party has immunity.” Id. “[T]he burden is on the defendant who relies on a statute of
limitations defense to prove facts that bring the case within the statute,” and “[s]ummary
disposition under MCR 2.116(C)(7) is appropriate when the undisputed facts establish that the
plaintiff’s claim is barred under the applicable statute of limitations.” Id.
                                         III. ANALYSIS

         Plaintiff argues that the trial court erred by finding that defendants’ representation of
plaintiff ended in April 2019 with respect to the district court action and that plaintiff’s legal
malpractice claim filed on November 16, 2022, which was based on defendants’ handling of the
district court matter, was therefore barred by the two-year statute of limitations.

        A legal malpractice claim accrues at the time that the attorney “discontinues serving the
plaintiff in a professional or pseudoprofessional capacity as to the matters out of which the claim
for malpractice arose, regardless of the time the plaintiff discovers or otherwise has knowledge of
the claim.” MCL 600.5838(1). A claim of legal malpractice must be brought within two years
from the time the claim first accrued or “within 6 months after the plaintiff discovers or should
have discovered the existence of the claim, whichever is later.” MCL 600.5805(1) and (8); MCL
600.5838(2). Furthermore, pursuant to MCL 600.5838b(1), a legal malpractice action “shall not
be commenced” after the expiration of the applicable limitations period or “[s]ix years after the
date of the act or omission that is the basis for the claim,” whichever is earlier. See generally
Nortley v Hurst, 321 Mich App 566, 571; 908 NW2d 919 (2017).




                                                -6-
        Here, plaintiff argues that the trial court erred by determining that defendants’
representation of plaintiff in the district court action also ended in April 2019 when defendants
were replaced by attorney Christy and his firm through a substitution of counsel entered in the
circuit court action and therefore concluding that plaintiff’s malpractice claim against defendants
was barred because it had accrued more than two years before plaintiff filed this action on
November 16, 2022. Plaintiff maintains that defendants remained as counsel of record relative to
the district court proceedings until attorney Hill was substituted in that action on November 19,
2020, thus rendering the present malpractice action timely filed within the limitations period.

        Hence, the issue we must resolve in this case concerns the proper determination of when
plaintiff’s legal malpractice claims accrued, which requires a determination of when defendants
“discontinue[d] serving the plaintiff in a professional or pseudoprofessional capacity as to the
matters out of which the claim for malpractice arose” for purposes of MCL 600.5838(1). As this
Court has explained:

               Special rules have been developed in an effort to determine exactly when
       an attorney “discontinues serving the plaintiff in a professional . . . capacity” for
       purposes of the accrual statute. For example, this Court has stated that an attorney’s
       representation of a client generally continues until the attorney is relieved of that
       obligation by the client or the court. Mitchell v Dougherty, 249 Mich App 668,
       683; 644 NW2d 391 (2002). This Court has also ruled that “[r]etention of an
       alternate attorney effectively terminates the attorney-client relationship.” Id., citing
       Maddox v Burlingame, 205 Mich App 446, 450; 517 NW2d 816 (1994).

               These rules, however, are useful only to the extent that they actually serve
       to measure the accrual of a claim within the meaning of MCL 600. 5838(1). Certain
       factual situations do not permit application of these rules. Instead, certain situations
       require application of the more general rule, defined in Gebhardt v O’Rourke, 444
       Mich 535, 543; 510 NW2d 900 (1994). There, our Supreme Court held simply that
       a legal malpractice claim accrues on the attorney’s “last day of professional
       service” in the matter out of which the claim for malpractice arose. Id. Similarly,
       this Court has held that when an attorney is not dismissed by the court or the client,
       and substitute counsel is not retained, the attorney’s service discontinues “upon
       completion of a specific legal service that the lawyer was retained to perform.”
       Maddox, supra at 450, citing Chapman v Sullivan, 161 Mich App 558, 561-562;
       411 NW2d 754 (1987).

                We once again recognize that a plaintiff’s legal malpractice claim accrues
       on the day that the attorney last provides professional service in the specific matter
       out of which the malpractice claim arose. We now hold that in the absence of an
       attorney’s dismissal by the court or the client, and in the event that an attorney sends
       notice of withdrawal as his or her final act of professional service, a legal
       malpractice claim with respect to a particular matter that has been finally dismissed
       by order of the trial court accrues at the time affirmative notification of withdrawal
       is sent. [Kloian v Schwartz, 272 Mich App 232, 237-238; 725 NW2d 671 (2006)
       (ellipsis and alteration in original, some citations omitted).]



                                                 -7-
        In early 2018, plaintiff hired Hall to represent him in the district court eviction proceedings
initiated by 1300 Lafayette. The issue at hand was 1300 Lafayette’s claim to possess the leased
unit due to plaintiff’s failure to pay rent. Plaintiff objected to the claim and stated that 1300
Lafayette did not adequately address water leaks on the property, rendering it unfit for its intended
use and needing repair. As a result, plaintiff withheld rent and placed it in escrow.
        In March 2018, Hall filed a lawsuit in the circuit court on behalf of plaintiff against 1300
Lafayette, citing the same factual circumstances regarding the water leaks. Additionally,
substantial monetary damages were sought in the circuit court. The district court action was halted
in April 2018 as the district court judge stated that the circuit court action might resolve the issues.
        According to plaintiff’s affidavit, Christy and Brutman replaced Hall as counsel in April
2019, and an order was entered to that effect in the pending circuit court action. In June 2019,
Christy filed another circuit court action on behalf of plaintiff to address water leaks on the
property. Contending that the continued water leaks meant that 1300 Layfayette had not kept the
property fit for its intended use or in reasonable repair, plaintiff asserted he was justified in
withholding rent.
        It was noted that in the specific circumstances of this case, plaintiff actually paid “carrying
charges,” which seem to be the functional equivalent of “rent.” The question then, is whether the
trial court made a mistake in concluding that, based on the evidence in favor of plaintiff, Hall’s
representation of the plaintiff was legally terminated when plaintiff hired new legal counsel in
April 2019 for circuit court case.

         Here, none of the circumstances described in Kloian exist that would show an obvious
termination of defendants’ services relative to the district court action specifically: there is no
evidence of a formal memorialization that defendants’ services in the district court had been
terminated, there is no evidence that defendants withdrew in the district court until Hill’s
substitution in November 2020, and the district court matter had not been concluded. See Kloian,
272 Mich App at 237-238. Plaintiff argues that Hall was still the attorney of record for the district
court case until Hill took over. This means that Hall was still responsible for plaintiff’s legal
matters while the district court case was on hold and the circuit court case continued. Therefore,
plaintiff maintains that defendants did not discontinue their professional services to plaintiff as to
the district court matter for statute-of-limitation purposes until November 19, 2020, rendering the
current malpractice action timely filed within the two-year limitations period.

        Nonetheless, plaintiff also acknowledges that defendants did not provide any further legal
advice or services to plaintiff after Christy and his firm took over as counsel for plaintiff in the
circuit court in April 2019. Although an attorney’s representation of a client generally “continues
until the attorney is relieved of the obligation by the client or the court,” Mitchell, 249 Mich App
at 683, “no formal discharge by the client is required, and the termination of an attorney-client
relationship can be implied by the actions or inactions of the client,” id. at 684. “[T]he retention
of alternate counsel is sufficient proof of the client’s intent to terminate the attorney’s
representation.” Id. “Further, where a client obtained legal advice from an attorney, then had no
further contact with that attorney until filing a complaint for legal malpractice, . . . the client
relieved the attorney of his obligations on the date the attorney last advised the client.” Id. at 684-
685.

       In Mitchell, id. at 670-671, the plaintiffs retained two attorneys from the same firm to
pursue a medical malpractice action. The two attorneys subsequently left the law firm but


                                                  -8-
continued to represent the plaintiffs. Id. at 671. The original law firm did not perform any
professional services for the plaintiffs following the departure of the two attorneys who continued
to represent plaintiffs. Id. at 671-672. Eventually, the plaintiffs filed a legal malpractice action
against the two attorneys and their former law firm based on alleged negligence committed by the
two attorneys during the medical malpractice action and after the attorneys had left their former
law firm. Id. at 672. Relevant to the issue in the present appeal, the defendant law firm moved for
summary disposition on the ground that “it no longer represented plaintiffs after defendant
attorneys left the firm, and the malpractice alleged in this case occurred after their representation
ceased.” Id. The trial court granted the motion. Id. at 672-673.

       On appeal, this Court recognized:

       Retention of an alternate attorney effectively terminates the attorney-client
       relationship. However, in this case, plaintiffs did not retain alternate counsel.
       Rather, they maintained their relationship with defendant attorneys after the
       attorneys’ separation from defendant law firm. At no time did plaintiffs formally
       terminate their representation by defendant law firm. Therefore, the question we
       must address here is whether the attorney-client relationship between plaintiffs and
       defendant law firm was terminated and, if it was, when that termination occurred.
       [Id. at 683 (citation omitted).]

        This Court affirmed the trial court and held that “[i]n view of the precedent establishing
that an attorney-client relationship can be terminated by implication, we conclude that the facts of
this case show the intent of plaintiffs to terminate their relationship with defendant law firm.” Id.
at 685, 686. The Court rejected the plaintiffs’ argument that “they did not terminate their attorney-
client relationship with defendant law firm because they did not clearly indicate that they were
releasing defendant law firm from its obligation to represent them.” Id. at 683-684. The Court
reasoned:

       Defendant attorneys ceased their association with defendant law firm in January
       1996, and plaintiffs were aware that defendant attorneys would be partners in a new
       law firm. After defendant attorneys left defendant law firm, the firm did not
       provide any further professional services for plaintiffs. There is no evidence that
       plaintiffs either objected to representation by defendant attorneys through their new
       law firm or sought to continue representation by defendant law firm. Although
       plaintiffs did not retain “new” counsel, plaintiffs’ decision to continue their
       representation with defendant attorneys at a new firm rather than remain with
       defendant law firm was the functional equivalent of retaining a new attorney. On
       these facts, we find that plaintiffs relieved defendant law firm of its obligation to
       represent them when defendant attorneys ended their association with the law firm
       in January 1996. [Id. at 685-686.]

         Here, plaintiff terminated defendants’ representation in the circuit court action and retained
new counsel in that action in April 2019. Notably, the circuit court action essentially subsumed
the original district court action by including the issues to be litigated in that action and expanding
the litigation to include additional parties and issues. There is no evidence that plaintiff actually
sought legal advice or services from defendants at any point—for any purpose, including the


                                                 -9-
district court matter—after replacing defendants in the circuit court. Under these undisputed facts,
it was plaintiff’s demonstrated intent through his actions and inactions to relieve defendants of
their obligation to represent him in all matters related to his dispute revolving around the persistent
water leaks and other maintenance issues with his residence, including the matter that had been
stayed in the district court while intricately entwined circuit court litigation progressed. Id. at 684-
686. The mere fact that Hall remained listed as counsel of record in the district court action, where
those proceedings remained stayed and Hall did not perform any services for plaintiff or provide
any legal advice on any matters, does not change the outcome on this record; for purposes of the
statute of limitations, an attorney is discharged when the client ends the attorney’s authority, and
no additional court action is necessary to effectuate that discharge. Hooper v Lewis, 191 Mich
App 312, 315-316; 477 NW2d 114 (1991).

         The trial court did not err by concluding as a matter of law that defendants discontinued
providing professional services to plaintiff in April 2019, well more than two years before plaintiff
filed this legal malpractice action, and determining that summary disposition was warranted under
MCR 2.116(C)(7).5

          Affirmed. Defendants, having prevailed, are entitled to costs. MCR 7.219(A).

                                                               /s/ Christopher M. Murray
                                                               /s/ Stephen L. Borrello
                                                               /s/ Philip P. Mariani




5
    In light of this conclusion, we need not address defendants’ alternative arguments for affirmance.


                                                  -10-
